Case 1-24-40l0/-nnl DOC lo-2 Fed Vo/Vo/zo Entered Os/Osiz2o L4i2fiof

EXHIBIT 2
Case 1-24-40l0/-nnl DOC lo-2 Fed Vo/Vo/zo Entered Os/Osiz2o L4i2fiof

From: Richard Duvall
To: Eric Goldfine SERPT
Subject: FW: 68 Burns New Holdings, Raviv sales screen snapshot, sold to Dan & Ram Raviv
Date: Wednesday, February 26, 2025 5:06:00 PM
Attachments: image001. png
image002,.pna

Found in my file

Richard DuVall

MACKEY
BUTTS &
WHALEN
LLP

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From: Serpt1 <serpt1@verizon.net>

Sent: Wednesday, October 18, 2023 2:48 PM

To: Thomas J. Cummings <tcummings@mccm.com>

Subject: Fwd: 68 Burns New Holdings, Raviv sales screen snapshot, aold to Dan & Ram Raviv
Case 1-24-40l0/-nnl DOC lo-2 Fed Vo/Vo/zo Entered Os/Osiz2o L4i2fiof

Sent from my iPad

Begin forwarded message:

From: Nancy Cottrell <nancycottrell\@optonline.net>
Date: October 18, 2023 at 2:47:22 PM EDT

To: SERPT Goldfine <serpt1@verizon.net>
Subject: 68 Burns New Holdings, Raviv sales screen snapshot, aold to Dan & Ram:

Raviv

Basel oe

Sent from my iPhone
